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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                              Plaintiff,
                                                             Civil Action No. 3:19-cv-02281
       vs.

MATCH GROUP, INC., a corporation,

                              Defendant.


               DEFENDANT’S UNOPPOSED MOTION FOR APPROVAL TO
                  FILE BRIEF IN EXCESS OF TWENTY-FIVE PAGES

       Defendant Match Group, Inc. (“Match”) moves unopposed for a five-page extension to

the page limit for the brief in support of its upcoming Motion to Dismiss. In support of this

request, Defendant respectfully states the following:

       1.      Plaintiff filed this action on September 25, 2019, and summons was executed on

Match on September 26, 2019.

       2.      Defendant must respond to the Complaint by Thursday, October 17, 2019.

       3.      Defendant is moving to dismiss the Complaint based on Federal Rule of Civil

Procedure 12(b)(6). The Complaint challenges four former practices purportedly taken by Match

Group, Inc. Because there are multiple reasons why the Complaint should be dismissed as a

matter of law, Match respectfully submits that the Court and Parties would benefit from a page-

limit extension by allowing for a more thorough presentation of the multiple important issues

implicated by the motion.

       4.      Match respectfully submits that these circumstances justify a five-page extension

to the 25-page limit for the briefing. The FTC does not oppose this request.
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       5.      Match is not seeking an extension of its response date. The brief relating to this

Motion will be finalized and submitted through ECF on October 17, 2019.



       WHEREFORE, Defendant respectfully requests that this Court extend the page limit for

the brief in support of its forthcoming motion to dismiss by five pages.



 Date: October 16, 2019                             By: /s/ Angela C. Zambrano
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                                                       Attorneys for Match Group, Inc.




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                              CERTIFICATE OF CONFERENCE

       On October 14 and October 15, 2019, I conferred with Zachary Alexander Keller,

attorney for Plaintiff, and he indicated that Plaintiff is unopposed to this motion.



                                                           /s/ Angela C. Zambrano
                                                           Angela C. Zambrano




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                                CERTIFICATE OF SERVICE

       On October 16, 2019, I filed the foregoing document with the clerk of court for the U.S.

District Court, Northern District of Texas. I hereby certify that I have served the document on

all counsel by a manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                         /s/ Angela C. Zambrano
                                                         Angela C. Zambrano




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